           Case 2:07-cr-00132-RSL          Document 108        Filed 09/24/07      Page 1 of 2




 1
 2
 3
 4
 5
                              UNITED STATES DISTRICT COURT
 6
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE
 8
 9 UNITED STATES OF AMERICA,        )
                                    )
10               Plaintiff,         )                CASE NO. CR07-132-RSL
                                    )
11         v.                       )
                                    )
12 DENNIS NARAIN,                   )                ORDER DENYING MOTION TO
                                    )                RECONSIDER SETTING
13                                  )                CONDITIONS OF RELEASE
                 Defendant.         )
14 ________________________________)
15            The defendant, through his attorney Robert Leen, moves for reconsideration setting
16 conditions of release. In this Court’s detention order dated May 2, 2007 (Dkt. No. 63), the Court
17 denied release. The Court has reviewed the applicable section of Local Criminal Rules.
18 Pertaining to motions for reconsideration.
19 CrR 12 (c)11 reads:
20          Reconsideration of Motions.
           (A) Standards. Motions for reconsideration are disfavored. The court will
21         ordinarily deny such motions in the absence of a showing of manifest error in the
           prior ruling or a showing of new facts or legal authority which could not have
22         been brought to its attention earlier with reasonable diligence.
           (B) Procedure. A motion for reconsideration shall be plainly labeled as such. The
23         motion shall be noted for consideration on the Friday following the day it is filed.
           The motion shall point out with specificity the matters which the movant believes
24         were overlooked or misapprehended by the court, any new matters being brought
           to the court's attention for the first time, and the particular modifications being
25         sought in the court's prior ruling. Failure to comply with this subsection may in
           itself be grounds for denial of the motion.
26


     DETENTION ORDER
     PAGE -1-
         Case 2:07-cr-00132-RSL         Document 108        Filed 09/24/07      Page 2 of 2




 1       Under careful reading of this rule and the pleadings submitted for consideration, the
 2       Defendant does not meet the standard for reconsideration of this Court’s prior order, thus
 3       his motion is DENIED.
 4
 5       DATED this 24th day of September, 2007.
 6
 7
 8                                                     A
                                                       MONICA J. BENTON
 9                                                     United States Magistrate Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -2-
